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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                      September 27, 2021
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS                    Nathan Ochsner, Clerk

                         BROWNSVILLE DIVISION

UNITED STATES OF AMERICA,   §
                            §
VS.                         §              CRIMINAL NO. 1:12-CR-435
                            §
TOMAS YARRINGTON RUVALCABA, §
et al,                      §
                            §
       Defendants.          §

                                    ORDER


       The Court hereby extends the October 4, 2021 deadline for the Probation
Office to file the First Disclosure of the Presentence Investigation Report by 45
days. The new deadline is November 18, 2021.


       SIGNED this 27th day of September 2021.


                                        ___________________________________
                                        Hilda Tagle
                                        Senior United States District Judge




1/1
